
959 A.2d 297 (2008)
COMMONWEALTH of Pennsylvania, DEPARTMENT OF ENVIRONMENTAL PROTECTION, Appellee
v.
300 NORTH BROAD STREET, LTD., a/k/a/ 300 North Broad Street, a Partnership, a/k/a 300 North Partnership, a/k/a 300 North Broad Street Trust, and Heywood Becker, Appellants.
No. 115 MAP 2007.
Supreme Court of Pennsylvania.
November 19, 2008.

ORDER
PER CURIAM.
AND NOW, this 19th day of November, 2008, the Order of the Commonwealth Court is AFFIRMED.
